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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,                        )
                                                 )
      Plaintiff,                                 )
                                                 )
v.                                               )     Case No. 4:13CV00502 CAS
                                                 )
EIGHTY-EIGHT THOUSAND, TWO                       )
HUNDRED SIXTY-SEVEN DOLLARS                      )
($88,267.00) U.S. CURRENCY,                      )

      Defendant.

            CONSENT MOTION FOR ENTRY OF ORDER OF FORFEITURE

       COMES NOW the United States of America, by and through its attorneys, Richard G.

Callahan, United States Attorney for the Eastern District of Missouri, and Julia M. Wright, Assistant

United States Attorney for said district, and, with the consent of the only claimant in this matter,

Eyton Senders, moves this Court to enter the attached Order, the entry of which has been agreed to

by the parties in a fully executed settlement agreement.


Dated: May 30, 2013                              Respectfully submitted,

                                                 RICHARD G. CALLAHAN
                                                 United States Attorney

                                                  /s/ Julia M. Wright
                                                 JULIA M. WRIGHT, #38928MO
                                                 Assistant United States Attorney
                                                 111 South 10th Street, Suite 20.333
                                                 Saint Louis, Missouri 63102
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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on May 30, 2013, the foregoing was filed
electronically with the Clerk of Court to be served by operation of the Court’s electronic filing
system upon all counsel of record.

                                                  /s/ Julia M. Wright
                                                 JULIA M. WRIGHT, #38928MO
                                                 Assistant United States Attorney




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